            Case 2:19-cr-00159-RSL Document 174-1 Filed 01/14/22 Page 1 of 2




 1                                                            The Honorable Robert S. Lasnik
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 7                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
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        UNITED STATES OF AMERICA,                       NO. CR19-159 RSL
11
                              Plaintiff,
                                                        [PROPOSED]
12
                         v.                             ORDER GRANTING UNITED
13                                                      STATES’ MOTION TO SEAL
        PAIGE A. THOMPSON,
14                                                      EXHIBIT A TO SUPPLEMENTAL
                              Defendant.
15                                                      FILING RELATING TO
                                                        DEFENDANT’S MOTION TO STRIKE
16
                                                        CRYPTOJACKING ALLEGATIONS
17                                                      AND TO SEVER COUNT 8
18
19
20         This matter has come before the Court on the United States’ Motion to Seal
21 Exhibit A to its Supplemental Filing Relating to Defendant’s Motion to Strike
22 Cryptojacking Allegations and to Sever Count 8. The Court has reviewed the motions
23 and records in this case and finds there are compelling reasons to permit the filing under
24 seal of this exhibit due to the sensitive information contained therein.
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26 //
27 //
28

     [PROPOSED] SEALING ORDER - 1                                      UNITED STATES ATTORNEY
                                                                      700 STEWART STREET, SUITE 5220
     United States v. Thompson, CR19-159 RSL
                                                                        SEATTLE, WASHINGTON 98101
                                                                              (206) 553-7970
            Case 2:19-cr-00159-RSL Document 174-1 Filed 01/14/22 Page 2 of 2




 1         IT IS THERFORE ORDERED that Exhibit A to the United States’ Supplemental
 2 Filing Relating to Defendant’s Motion to Strike Cryptojacking Allegations and to Sever
 3 Count 8 be filed under seal.
 4         DATED: this _____ day of January, 2022.
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                                                   _____________________________
 8                                                 ROBERT S. LASNIK
                                                   United States District Court Judge
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     Presented by:
12
   s/ Andrew C. Friedman
13
   ANDREW C. FRIEDMAN
14 Assistant United States Attorney
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     [PROPOSED] SEALING ORDER - 2                                   UNITED STATES ATTORNEY
                                                                   700 STEWART STREET, SUITE 5220
     United States v. Thompson, CR19-159 RSL
                                                                     SEATTLE, WASHINGTON 98101
                                                                           (206) 553-7970
